              Case 2:21-cr-00109-DAD Document 67 Filed 07/02/21 Page 1 of 3

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 9                               IN THE UNITED STATES DISTRICT COURT

10                                  EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                          CASE NO. 2:21-CR-00109-JAM
12
                                  Plaintiff,            [PROPOSED] ORDER REGARDING
13                                                      GOVERNMENT'S DISCLOSURE OF SENSITIVE
                            v.                          MATERIALS AND PERSONAL
14                                                      IDENTIFICATION INFORMATION
     ANTONIO MENDOZA RAMOS,
15   LEOPOLDO GONZALEZ, JR.,
     VICTOR MANUEL VELAZQUEZ,
16   ERASMO ZARATE SOLORZANO,
     ESTELA ACEVEDO,
17   CARLOS CANO MANZO,
     DIANA CERVANTES,
18   JOSE GENARO VARGAS-RAMIREZ,
     ALMA ADRIANA MORA MADRIGAL,
19   ALEJANDRO MORA MADRIGAL,
     FERNANDO CARDENAS, and
20   HUMBERTO PIMENTEL CARANZA,
21                               Defendant.
22

23          The Court has received and considered the jointly-filed Stipulation Regarding Disclosure of

24 Sensitive Materials and Personal Identifying Information between Plaintiff United States of America, by

25 and through its counsel of record, the United States Attorney for the Eastern District of California, and

26 defendant VICTOR MANUEL VELAZQUEZ, by and through his counsel of record, Kelly Babineau;

27 defendant ERASMO ZARATE SOLORZANO, by and through his counsel of record Etan Zaitsu;

28 ESTELA ACEVEDO, by and through her counsel of record Clemente Jimenez; DIANA CERVANTES,

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                 Case 2:21-cr-00109-DAD Document 67 Filed 07/02/21 Page 2 of 3

 1 by and through her counsel of record Jennifer Mouzis; JOSE GENARO VARGAS-RAMIREZ, by and

 2 through his counsel of record Dina Santos; ALMA ADRIANA MORA MADRIGAL, by and through

 3 her counsel of record Christina A. DiEdoardo; and HUMBERTO PIMENTEL CARANZA, by and

 4 through his counsel of record Jesse Garcia. VELAZQUEZ, ZARATE SOLORZANO, ACEVEDO,

 5 CERVANTES, VARGAS-RAMIREZ, MORA MADRIGAL, and PIMENTEL CARANZA are

 6 hereinafter referred to as “defendants.”

 7          Good cause showing, IT IS HEREBY ORDERED THAT:

 8          1.       The government will identify the discovery materials in this case the disclosure of which

 9 could jeopardize the safety of witnesses or other persons or affect the confidentiality of ongoing

10 investigations (the “Sensitive Materials”).

11          2.       The government will mark all Sensitive Materials with the following stamp or

12 inscription: “SENSITIVE MATERIALS”

13          3.       If the government distributes any document, compact disk, or other material bearing the

14 above label:

15                   a.     Defense counsel shall not distribute Sensitive Materials to anyone other than their

16 own legal staff (including paralegal assistants, legal secretaries, defense investigators, and lawyer-

17 associates);

18                   b.     Defense counsel shall not allow anyone other than themselves and their legal staff

19 to possess, or maintain possession of, any Sensitive Materials;

20                   c.     Defense counsel or their legal staff may show defendants Sensitive Materials, but

21 may not allow defendants to possess Sensitive Materials other than in the presence of defense counsel or

22 their legal staff;

23                   d.     Defendants shall not distribute the sensitive materials to anyone;

24                   e.     Defense counsel and defendants may not disclose the contents of any Sensitive

25 Materials publicly, including in any court filing, without first meeting and conferring with government

26 counsel, and, in any event, shall file any Sensitive Materials under seal.

27          4.       The parties must confer before filing any motions regarding the government’s disclosure

28 (or lack of disclosure) of Sensitive Materials.

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                 Case 2:21-cr-00109-DAD Document 67 Filed 07/02/21 Page 3 of 3

 1          5.       The evidence in this matter also includes personal identification information for others,

 2 including but not limited to names, addresses, dates of birth, social security numbers and bank account

 3 numbers (collectively “personal information”).

 4          6.       This personal information is found throughout the discovery in this case, which includes,

 5 among other records, thousands of pages of records from banks, other financial institutions, businesses

 6 and police departments.

 7          7.       IT IS FURTHER ORDERED THAT:

 8                   a.     Only defense counsel, defense counsels’ agents, and the defendants may review

 9 the unredacted personal information contained in the discovery. Defense counsel, defense counsels’

10 agents and defendants may only use the unredacted personal information or any portion thereof for the

11 specific purpose of preparing or presenting a defense in this matter and for no other purpose.

12          8.       Only defense counsel and defense counsels’ agents may make copies of any discovery

13 containing unredacted personal information; the defendants may make copies for their own use only of

14 any discovery containing unredacted personal information that has been provided to them by their

15 defense counsel or their defense counsel’s agents, and may not release any such copies to any third

16 party.

17          9.       At the conclusion of this matter, defense counsel will collect and destroy any and all

18 copies of documents and portions thereof containing the personal information that defense counsel

19 possesses and/or has made and distributed to their agents and/or defendants, except a copy set as

20 necessary to maintain in defense counsels’ case file.

21          10.      This Order shall apply to unredacted personal information contained in all discovery

22 produced in this case, including any discovery produced after entry of this Order.

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24 IT IS SO ORDERED.

25 Dated: July 2, 2021

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